Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 1 of 34

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TAMMY KITZMILLER; et al.

Plaintiffs, Civil Action No. 04-CV-2688

(M.D. Pa.)

Hon. John E. Jones TI

‘DOVER AREA SCHOOL
DISTRICT; et al.,

_ Defendants’ Proposed
Rebuttal
Findings Of Fact
And

Conclusions Of Law.

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Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 2 of 34

 

DEFENDANTS PROPOSED
REBUTTAL
FINDINGS OF FACT
AND
CONCLUSIONS OF LAW

DEFENDANTS’ PROPOSED FINDINGS OF FACT
BY WAY OF REBUTTAL!

1. Intelligent design is science. Intelligent design is not a religious
proposition; it is a scientific argument. Plaintiffs’ conclusion that intelligent
design is a religious proposition is erroneous and this Court so finds.
Plaintiffs’ conclusion is based on faulty logic, misrepresentations of the
evidence and arguments, and ad hominem attacks. (See P-FF 1-121).

a. Contrary to Plaintiffs’ assertions, the evidence plainly shows that
well-credentialed scientists, such as Professor Behe and Professor
Muinnich, are proponents of intelligent design because it is a scientific
theory that provides, what they believe to be, the best explanation for
the empirical evidence. v. 18 (Behe); 29:4-25-30:1-3; v. 37

(Minnich); 21:1-25-22:1-20. They find support for their arguments in

 

'For ease of reference the Defendants’ have used the same volume designations as the Plaintiffs mn their
post-trial submissions. When referring to Defendants’ Proposed Findings of Fact and Conclusions of Law (as
opposed to those filed by way of additional rebuttal, Defendants will cite them as D-FF or D—-CL and by appropriate
number; Plaintiffs’ will be referred to as P-FF or P-CL. Defendants have not reiterated their initial proposed
findings and conclusions by way of rebuttal but incorporate those by reference in general, and direct the Corut’s
attention to specific findings or conclusions in order to address inference or argument in the Plaintiffs’ proposed
findings and conclusions.
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 3 of 34

the peer-reviewed literature and based on their own experimental
work. v. 18 (Behe); 112:11-23; v. 37 (Minnich); 24:14-25-25:1-7; v.
18 (Behe); 113:11-22; v. 37 (Minnich) 24:6-13; v. 37 (Minnich);
25:8-25-27:1-11; v. 18 (Behe); 114:1-3; v. 37 (Minnich); 26:22-25-

27:1-11. This Court finds that intelligent design is science.

2. Intelligent design is not creationism nor does it advance a religious belief.

a.

As Plaintiffs’ experts acknowledge and as the evidence
overwhelmingly demonstrates, intelligent design is not based on any
religious authority or tenet of religious faith nor does it seek to
demonstrate the veracity of any religious authority or tenet of
religious faith, which is contrary to creationism or creation science
(compare P-FF 17-29). v. 20 (Behe) 96:4-25-98:1-5; v. 16 (Padian);
72:19-25-73:1-3. Indeed, Plaintiffs religion expert, Professor
Haught, conceded during cross-examination that it is misleading to
conflate creationism with intelligent design. v. 9 (Haught); 50:15-25-
51:1-22. As the evidence demonstrates, intelligent design is based on

empirical, observable facts about biology plus logical inferences

 

*Professor Alters testified that intelligent design does not depend on any religious faith, is not dependent on
the Bible to reach its conclusions, and is not dependent on sacred Scripture to reach its conclusions. v. 15 (Alters);
35:16-24. Professor Padian testified that intelligent design does not have as its objective the goal to validate Bible
stories or any particular religious or creation stories. v. 16 (Padian) 73:1-3.

3
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 4 of 34

(compare P-FF 34-58). v. 18 (Behe); 89:20-25; 90:1-5; v. 18 (Behe);
112:1-10; v.37 (Minnich); 45:5-9; 48:6-25-52:1-10. In contrast,
creationism and creation science do not require physical
evidence—they rely solely on religious doctrine or authority for their
conclusions. v. 20 (Behe): 97:1-98:1-5. Intelligent design is not a
religious belief nor does it advance religion or a religious belief. v.
18 (Behe); 87:11-15; v. 20 (Behe); 96:14-25; v. 37 (Minnich); 133:4-
25-135:1-17. This Court finds that intelligent design is not
creationism nor does it advance a religious belief.
Intelligent design advances scientific arguments. Plaintiffs erroneously
contend that the argument for design is theological and not scientific
because it is similar to an argument advanced by William Paley, a famous
theologian. (P-FF 1-3, 84). However, as prominent Darwinian biologist
Richard Dawkins noted in The Blind Watchmaker, contrary to Plaintiffs’
characterization, the argument advanced by Paley is based in logic and it is
a legitimate argument for the biological sciences. v. 18 (Behe); 105:5-25-
106:1-20. In fact, it is an argument based on inductive reasoning—the very
kind of logic that is used in science and that intelligent design proponents

employ in making their arguments. v. 18 (Behe); 106:21-25-108:1-9;
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 5 of 34

109:14-17. Plaintiffs are engaging in the fallacy of the ad hominem,
seeking to discredit the logic employed in the inductive reasoning used by
intelligent design proponents because it was used at one time by a
theologian. Richard Dawkins acknowledged the legitimacy of the logic
employed in the argument for design, and so too does this Court.

Intelligent design makes testable, scientific claims.

a. As Professor Miller testified, science does not prove things, it
disproves them. v. 2 (Miller) 92:11-16. Professor Behe demonstrated
in an article published in a peer-reviewed journal and during his
testimony that intelligent design is a testable, scientific proposition,
and he proposed the test to demonstrate it. v. 18 (Behe); 124:14-25-
129:1-15; D 203-H at 697. During his testimony, Professor Minnich
confirmed the applicability of this test and offered another way in
which intelligent design could be tested. v. 37 (Minnich); 118:23-25-
120:1-13. This test was a variation of the test proposed by Professor
Behe. In comparison, the evidence shows that natural selection is not
so readily testable or falsifiable. v. 18 (Behe) 127:9-25-129:1-15; D
203-H at 697-98. Indeed, as Defendants’ evidence showed, even the

“peer-reviewed” articles relied upon by Plaintiffs, in particular, those

A
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 6 of 34

presented at trial by Professor Miller, demonstrate the very
speculative nature of the claims made in support of Darwinian
processes. v. 20 (Behe); 39:24-25-49:1: D 300-NN through 300 UU.
Intelligent design proponents insistence on a detailed, testable,
rigorous Darwinian explanation for the origin of new complex
biological features (v. 19 (Behe) 28:18-25-29:1-3) is hardly “setting a
burden of proof for the theory of evolution that is scientifically
unreasonable,” as Plaintiffs claim (P-FF 78). As the prominent
paleontologist Simon Conway Morris conceded, “When discussing
organic evolution the only point of agreement seems to be: ‘it
happened.’” v.37 (Minnich) 60:7-25-61:1-14; D 255. Ina book
published by Oxford University Press, Professor Franklin Harold
wrote, “We must concede that there are presently no detailed
Darwinian accounts of the evolution of any biochemical system, only
a varicty of wishful speculations.” v. 19 (Behe); 29:18-25-30:1-6.
Thus, the evidence indicates that the Darwinian theory of evolution
(1.e., natural selection) is not as strong as Plaintiffs claim. In fact,
Plaintiffs often conflate the evidence for the occurrence of

evolution—change over time—-with the evidence for the mechanism
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 7 of 34

of evolution—natural selection. v. 19 (Behe); 13: 22-25-14:1-10.
Students should be able to recognize and differentiate between
speculation and actual data that supports a theory. v. 20 (Behe);
48:19-22. This Court finds that DASD’s policy promotes this valid

scientific and educational purpose.

5, Plaintiffs misrepresent intelligent design arguments.

a.

Plaintiffs mischaracterize the concept of irreducible complexity in
order to argue against it (see P-FF 64-80). v. 19 (Behe); 57:17-25-
60:1-13. Professor Miller inaccurately claims that the essence of the
biochemical argument from irreducible complexity 1s that the
individual parts of the machine have no function of their own. v. 2
(Miller); 13:21-24; 18:3-16; v. 3 (Miller); 41:24-25-42:1-22. That is
not the concept of irreducible complexity advanced by intelligent
design proponents. v. 19 (Behe); 59:16-25-60:1-13.

Professor Minnich has worked extensively on the bacterial flagellum
and the type III secretory system (TTSS); they have been the focus of
his research, writing, and experimental work for the past 10 years. v.
37 (Minnich); 9:22-25-10:1-14; 18:4-11; 53:24-25-54:1-6. He has

received competitive research grants for his work on these molecular
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 8 of 34

systems. v. 37 (Minnich); 41:12-25-42:1-9. In comparison, Professor
Miller, a cell biologist who admittedly is less involved in
experimental work (v. | (Miller); 34:5-24), does not have similar
expertise with regard to these systems. Undoubtedly, Professor
Minnich is a subject matter expert on these particular molecular
systems, and it is his expert opinion that the bacterial flagellum is
irreducibly complex, providing credible scientific support for
intelligent design and critically undermining Plaintiffs’ claims (see P-
FF 73-74). v.37 (Minnich); 110:2-25-117:1-12; D 301-M.

Plaintiffs inaccurately claim that intelligent design requires the action
of a supernatural creator acting outside the laws of nature. (See P-FF
4,5, 12-16). This is a misrepresentation of intelligent design.
Undoubtedly, Plaintiffs seek to shoehorn this case to fit within
Edwards y. Aguillard, 482 U.S. 578 (1987). However, the evidence
demonstrates otherwise. Intelligent design does not require the action
of a supernatural creator (v. 18 (Behe); 86:16-20; v. 20 (Behe); 99:1-
24; v.37 (Minnich); 45:22-25-46:1-2; 135:18-21), it does not rule out
natural cause explanations for the overwhelming evidence of design

found in nature (v. 20 (Behe); 100:2-18; v. 37 (Minnich); 136:17-25-
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 9 of 34

137:1-4), and methodological naturalism, a convention that places
artificial limits on all scientific inquiry (v. 20 (Behe); 100:22-25-
102:1), does not rule out intelligent design from being a scientific
theory (v. 20 (Behe); 102:2-25-104:1-25; v. 37 (Minnich); 137:14-
20). Moreover, intelligent design can bracket the cause of the design
found in nature in a manner similar to how the Big Bang Theory can
bracket the cause of the “big bang.” v. 18 (Behe); 122:15-25-123:1-
125. As Professor Behe noted, some scientists will probably not
consider intelligent design a good theory because of its philosophical
implications, similar to how some scientists do not consider the Big
Bang Theory to be a good theory because of its philosophical
implications. v. 18 (Behe); 117:3-25-123:1-10. However, these
philosophical concerns do not make either theory less scientific. The
Court finds that intelligent design advances a scientific theory.
Plaintiffs misrepresent Professor Behe’s testimony regarding the
definition of science. Plaintiffs claim that Professor Behe’s definition
of science is not accurate because 1t would include astrology. (P-FF
46). However, as Professor Behe explained during his testimony, at

one time astrology, the forefather of astronomy, was thought to
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 10 of 34

describe real events by the educated community. v. 21 (Behe) 38:18-
25-41:1-8. Plaintiffs’ demonstrative exhibit made this point, as
Professor Behe demonstrated on cross-examination.” As Professor
Behe explained, “There have been many theories throughout the
history of science which looked good at one time which further
progress has shown to be incorrect. Nevertheless, we can’t go back
and say that because they were incorrect they were not theories.” v.
21 (Behe) 39:13-17. Thus, the point here is that there has been no a
priori definition of science in the history of science and attempts to do
so inevitably fail, including the attempt by Judge Overton in the
McLean vy. Arkansas Bd. of Educ., 529 F.Supp. 1255 (E.D. Ark.
1982). Therefore, this Court declines Plaintiffs’ invitation to offer a
fixed definition of science that would exclude certain ideas (see P-FF
56)—a futile exercise that history has looked upon with great disfavor
and even scorn. This is particularly so when, as here, well-
credentialed experts, such as Professor Behe and Professor Minnich,
have provided compelling evidence that intelligent design is a

scientific pursuit.

 

*Noting that the archaic definition of astrology includes “astronomy.” v.21 (Behe) 40:8-25-41:1-8.

10
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 11 of 34

e, Plaintiffs inaccurately claim that the following statement in Pandas is
an argument for special creation: “Adherents of intelligent design
assume that in the beginning all basic types of organisms were given
a set of genetic instructions that harbored variation but were resilient
and stable.” (P-FF 110). As Professor Minnich testified, the genetic
code (1.e., “a set of genetic instructions”) has been referred to by
Nobel laureate Francis Crick as “‘a frozen accident” and Carl Woes, a
prominent Darwinian biologist, claims that the genetic code has not
evolved. v. 37 (Minnich); 80:13-16. Moreover, computer analyses
have demonstrated that the genetic code is optimized to minimize the
effects of point mutations, the very thing required to drive evolution.
v. 37 (Minnich); 80:17-25-81:1-5. Thus, Pandas is stating what
prominent scientists acknowledge.

6. Plaintiffs engage in two fallacies in logic: the fallacy of the ad hominen and
the genetic fallacy.

a. Professor Forrest has no expertise in science or religion and she did
not address any of the scientific claims advanced by intelligent design
proponents. v. 10 (Forrest); 22:25-23:1-3; 25:21-25-26:1-7. Rather,

she admittedly focused her testimony on the philosophical and

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Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 12 of 34

theological claims made by certain proponents of intelligent design.
v.10 (Forrest); 69:6-22. In fact, the principal target of her ad
hominem attacks, Professor William Dembski, holds advanced
degrees in philosophy and theology, in addition to his doctorate in
mathematics. v. 11 (Forrest) 104:4-12. Yet, Professor Forrest

excluded Professor Dembski’s ideas regarding specified complexity,

 

which he wrote about in a book, The Design Inference—a book
published by the prestigious Cambridge University Press. v. 10
(Forrest) 27:12-23. Specified complexity is a concept that is part of
the argument for intelligent design. v. 17 (Padian); 92:6-11.
Professor Forrest’s methodology is troubling. As Professor Miller
noted in his sworn testimony, just because a scientist makes a
statement does not mean that the statement was intended to be
scientific. v. 3 (Miller); 89:6-8. Scientists, including Plaintiffs’
experts, have made religious and philosophical statements about
science. v. 3 (Miller); 88:8-25-89:1-8. Thus, to conclude that
intelligent design is not science based on nonscientific claims made

by proponents of intelligent design in writings that are admittedly

philosophical or theological, as Plaintiffs seek to do in this case (see

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Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 13 of 34

P-FF 6-11), would be clear error. Simply because a scientific theory
is advanced by an individual who happens to belong to a particular
faith does not make that scientific theory invalid. v. 9 (Haught)
34:25-35:1-9. Moreover, it is a genetic fallacy in logic to claim that a
particular theory 1s invalid because it comes from a religious person.
v. 9 (Haught) 35:10-15. Applying Plaintiffs’ logic to other scientific
claims such as Darwin’s theory of evolution or the Big Bang Theory
would render these claims nonscientific as well. As Plaintiffs’
religion expert, Professor Haught testified, not only does the Big
Bang Theory have religious implications, but all scientific theories
have religious implications. v. 9 (Haught) 69:23-25-70: 1-7.

b. Defendants have shown that Professor Forrest is a biased witness who
has made significant misrepresentations that demonstrate the
untrustworthiness of her testimony and the unreliability of the
methodology she employed in forming her opinions. (P-FF 6).
Professor Forrest is a member of the ACLU. v. 10 (Forrest); 50:19-
20. And she is a member of the Americans United for the Separation
of Church and State. v. 11 (Forrest); 63:9-11. Both of these

organizations are representing the Plaintiffs in this case. In her sworn

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Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 14 of 34

trial testimony, Professor Forrest emphatically asserted the following:
“Dr. Behe, in his capacity as a participant in this movement, reflects
the entire program. He does not make scientific presentations about
an idea that he purports—that he says is scientific. He does speak
frequently about irreducible complexity and other aspects of his work
in churches and other religious outlets.” v. 12 (Forrest) 12:15-21.
However, contrary to Professor Forrest’s assertion, Defendants have
provided overwhelming evidence demonstrating that Professor Behe
has presented his scientific arguments for intelligent design to
numerous and prestigious academic groups and science organizations.
v. 18 (Behe); 57:21-25-70:1-9; D 300 FE, F, G, H, L. Additionally, in
another assertion indicative of Professor Forrest’s questionable
testimony, she stated the following: “[W]hen [Professor Behe] spoke
of the Nature of Nature conference at Baylor, that was a conference
that was organized by creationists. It was organized by members of
the Discovery Institute. The Foundation for Thought and Ethics had
a hand in that. That was not a bona fide scientific meeting.” v. 12
(Forrest) 16:11-16 (emphasis added). Professor Forrest did not attend

this conference. Professor Behe, however, did attend, and he testified

14
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 15 of 34

as to the nature of this conference, explaining that there were
approximately 50 speakers who participated, including a physicists
from MIT, who is a member of the National Academy of Sciences,
Simon Conway Morris, a paleontologist from Oxford University and
a fellow of the Royal Society, which is England’s equivalent of the
National Academy of Sciences, a biology professor and biochemist
from New York, who is a member of the National Academy of
Sciences, and a Nobel laureate biochemist who teaches at the
Catholic University in Belgium. v. 18 (Behe) 63:3-25-64:1-23. As
Professor Behe testified, to describe this conference as a “creationist

29 66

conference” “would surprise many of the speakers there. I would say
that, that’s simply ludicrous. And I think it says more about the
person making such a comment than it does about the conference
itself.” v. 18 (Behe) 64:24-25-65:1-6. This Court agrees with
Professor Behe’s assessment.

c, The “Wedge Document’’/ “Wedge strategy” / drafts of Pandas are not
helpful. Professor Forrest’s opinions are based in large measure on a

fundraising document that was purportedly stolen from the offices of

The Discovery Institute. (See P-FF 9-11); v. 10 (Forrest) 40:22-25-

15
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 16 of 34

41:1-13. (See P-FF 6, 9-11). Yet, she failed to consider or address
The Discovery Institute’s primary source document that explains the
so-called “Wedge Document.” v. 10 (Forrest) 42:2-25-43:1-19. In
fact, by her own admissions, Professor Forrest has never interviewed
or spoke to any Discovery Institute employee or fellow regarding the
so-called “Wedge Strategy,” allegedly described in this document. v.
10 (Forrest); 41:13-25-42:1] - Moreover, she admitted that she had no
evidence that the DASD board members had any knowledge of the
“Wedge Document.” v. 10 (Forrest) 50:2-6. And she admitted that
she had no evidence that the people who prepared the DASD policy at
issue were acting under the guidance of the so-called intelligent
design movement. v. 10 (Forrest) 50:7-14. Additionally, Professor
Forrest admits that there is no evidence that any DASD board
member or administrator was aware of the various drafts of Pandas.
v. 12 (Forrest); 41:24-25-42:1-3. Professor Forrest also admits that
there was no evidence that any DASD board member or administrator
had any substantive contact or conversations with FTE or John Buell.

v. 12 (Forrest); 42:16-22. This Court so finds.

16
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 17 of 34

d. Thus, the “Wedge Document,” the “Wedge Strategy,” the prior drafts
of Pandas and the conclusions that Plaintiffs seek to draw from them
are not determinative in this case. (See P-FF 9-11). Not only is it not
appropriate for this Court to consider the motivations of the
individual board members, as required by the case law, 1t would
further compound error for this Court to consider the motivations of
so-called “Wedge leaders” or others who had no part in crafting the
policy at issue in this case. As this Court stated during the testimony
of Professor Minnich, “[I]t 1s not central or necessarily important to
me that we en cage in an independent debate on The Discovery
Institute. It’s just not helpful to me, and Pll tell you that.” v. 37
(Minnich); 20:21-24. Thus, it is not helpful, and in this Court’s
estimation, it would be error to make any findings in this case based
on The Discovery Institute, the so-called “Wedge Document” or
“Wedge strategy,” or the motives and actions of FTE or any of its
employees or affiliates.

7. Plaintiffs advance flawed arguments in an effort to disqualify ID from
science. Applying Plaintiffs’ flawed arguments and logical fallacies to

Darwin’s theory of evolution would demonstrate that it is not science, but

17
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 18 of 34

rather a philosophical and theological proposition that promotes certain

religious beliefs (“theistic evolution” and secular humanism) depending

upon one’s worldview or that it is inherently hostile to certain religions.

Therefore, based on Plaintiffs’ arguments, 1t would violate the

Establishment Clause to teach Darwin’s theory in a public high school

biology class. (See P-FF 6-11, 13, 14, 18-20, 28, 30, 31, 46, 47, 48).

a. By Plaintiffs’ Flawed Logic Darwin's theory of evolution endorses
and promotes the religious belief of “theistic evolution.” Professor
Miller, for example, has very strong religious views regarding
science, in particular, evolution, which he has published in a book
called Finding Darwin's God. v. 3 (Miller); 89:9-20; D-223. Even
the National Academy of Sciences officially endorses this particular
religious belief, which is known as “theistic evolution.” v. 21 (Behe)
80:6-25-82:1-3; P-718 at 696 (proclaiming that “‘theistic evolution’ is
not in disagreement with scientific explanations of evolution.”).
Applying Plaintiffs’ logic and arguments, based on the statements of
“Darwinian leaders” teaching Darwin’s theory of evolution advances
a religious belief, theistic evolution, which would violate the

Establishment Clause.

18
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 19 of 34

b. Professor Miller testified that God created the universe. v. 3 (Miller);
63:5-9. He is, therefore, admittedly a creationist because he believes
in some sort of creation event. v. 3 (Miller); 63:10-19. Professor
Miller testified that God is the author of all things, including the laws
of physics and chemistry. v. 3 (Miller); 63:20-25-64:1-3. He testified
that God is responsible for evolution. v. 3 (Miller); 64:4-20.

Therefore, according to his testimony, evolution presupposes a

 

creator. v. 3 (Miller); 64:4-20. Professor Miller testified that
evolution is consistent with his religious beliefs. v. 3 (Miller); 64:21-
23. He testified that faith and reason are compatible and
complementary. v. 3 (Miller); 64:24-25-65:1-2. Professor Miller
testified that if one were to apply faith and reason correctly as
objective and reliable tools for the nature of the world around us,
ultimately the conclusions of both should complement each other. v.
3 (Miller); 65:3-9. He testified that when he reads the biblical
account of creation in the Book of Genesis, he sees a series of
commands of the Creator to the earth and its waters to bring forth life,
and he believes that this is what happened, which is that the earth and

its waters and so forth brought forth life, and that this account is

19
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 20 of 34

consistent with natural history, which underlies evolutionary theory.
v. 3 (Miller); 68:1-18. In Finding Darwin's God, Dr. Miller wrote,
“What kind of God do I believe in? The answer is in those words. [|
believe in Darwin’s God.” D 223 at 292. Thus, applying Plaintiffs’
logic and arguments, based on the writings and testimony of
Professor Miller, it would violate the Establishment Clause to teach
Darwin’s theory of evolution in a public school biology class.

C. In Finding Darwin's God, Professor Miller quotes from The Origin of
Species in which Charles Darwin stated, “There is grandeur in this
view of life; with its several powers having been originally breathed
by the Creator into a few forms or into one: and that, whilst this
planet has gone cycling on according to the fixed law of gravity, from
so simple a beginning endless forms most wonderful and most
beautiful have been, and are being evolved.” D 223 at 292 (emphasis
added). Ironically, the fact that Darwin expressly identifies a
“Creator” in his seminal work would not cause Plaintiffs’ experts to
remove this book from the classroom or to prevent reference to it in

the curriculum. v. 6 (Haught); 64:3-8; v. 12 (Forrest); 50:8-16.7 Yet,

 

“Professor Miller’s textbook, Biology, refers to and discusses the Origin of Species. D 214 at 378-79.

20
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 21 of 34

based on Plaintiffs’ logic and arguments, this book would have to be
excluded and not even mentioned in a ninth-grade biology course
under their view of the Establishment Clause.

d. By Plaintiffs’ Flawed Logic Darwin’s theory of evolution promotes
the religion of secular humanism. According to Plaintiffs’ religion
expert, secular humanism is a religion. v. 9 (Haught) 67:14-22.
Professor Forrest, for example, is affiliated with secular humanist
organizations, and she has a secular humanist worldview. v. 10
(Forrest) 34:11-21. Methodological naturalism, the artificial
constraint that Plaintiffs seck to impose on scientific inquiry, is in
accord with the worldview of secular humanists. v. 10 (Forrest)
34:16-21. Secular humanism rejects efforts to explain the world in
supernatural terms and to look outside of nature for salvation. v. 11
(Forrest) 67:10-25-68:1-13. Secular humanism is committed to the
use of critical reason, factual evidence, and scientific methods of
inquiry rather than faith and mysticism, in seeking solutions to human
problems and answers to important human questions. v. 11 (Forrest)
71:6-17. Secular humanism holds that humans are the result of

unguided evolutionary change, and humanists recognize nature as
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 22 of 34

self-existing. v. 11 (Forrest) 93:17-21. Thus, the theory of evolution
is something that virtually all secular humanists endorse. v. 10
(Forrest); 34:25-35:1. Therefore, based on Plaintiffs’ logic and
arguments, teaching Darwin’s theory of evolution and promoting
methodological naturalism endorses the religion of secular humanism,
which would violate the Establishment Clause.

e. By Plaintiffs’ Flawed Logic Darwin’s theory of evolution is
inherently hostile to religion. According to prominent Darwinian
biologist, Richard Dawkins, “Darwin made it possible to be an
intellectually fulfilled atheist.” He wrote this in The Blind
Watchmaker, a book described by Professor Forrest as “a classic
popular explanation of evolution theory.” v. 10 (Forrest); 51:13-25-
52: 1-15. Prominent Darwinian paleontologist, Stephen Jay Gould,
claimed, “Biology took away our status as paragons created in the
image of God,” and “Before Darwin we thought that a benevolent
God had created [us].” v. 10 (Forrest); 53:10-20. Thus, based on
primary source data—which Professor Forrest considers the most
reliable—-such as the statements of these prominent “Darwinian

leaders,” and applying Plaintiffs’ logic and arguments, a court would

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Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 23 of 34

be compelled to find that Darwin’s theory of evolution is inherently a
theological and philosophical proposition that is hostile to religion;
therefore, it would violate the Establishment Clause to teach this
theory in a high school biology class.

In conclusion, an evenhanded application of Plaintiffs’ logic and
arguments would compel a court to conclude that teaching Darwin’s
theory of evolution in a ninth-grade biology class would violate the
Establishment Clause. The error of this conclusion demonstrates the
errors in logic and argument that Plaintiffs have presented. Thus, this
Court finds that making students aware of intelligent design in a

ninth-grade biology course does not offend the Establishment Clause.

8. DASD’s policy promotes valid educational goals.

a.

Contrary to Plaintiffs’ assertions (P-FF 292-311), Defendants did
present expert evidence that clearly demonstrates the valid
educational purposes served by DASD’s modest curriculum change.
Professor Behe has taught science at the college level for 23 years. v.
18 (Behe); 22:15-16; 24:11-14. In fact, he has taught a college course
on popular arguments on evolution for 12 years. v. 18 (Behe); 23:21-

25-24:1-10. He was qualified to testify as an expert in science

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Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 24 of 34

education in this case. v. 18 (Behe); 83:10-13; 85:16-18.
Additionally, Professor Minnich testified as an expert in science
education. v. 37 (Minnich); 42:10-13; 44:22-25. Professor Minnich
has taught science at the college and graduate level for 18 years. v.
37 (Minnich); 7:23-25-8:1. Based on Defendants’ experts’ opinions,
DASD’s policy promotes good science education and advances
secular educational goals, including critical thinking. v. 18 (Behe);
13-18; v. 20 (Behe); 86:11-23; v. 21 (Behe); 20:16-25-22:1: v. 37
(Minnich); 47:12-17; v.37 (Minnich); 144:12-23; v. 18 (Behe):
54:18-25-55:1-8; 56:5-16; 88:19-25; v.21 (Behe); 10:7-25-11:1-3; v.
37 (Minnich); 35:23-25-36:1-12; 47:18-24; v. 37 (Minnich); 144:24-
25-145:1-6.

b. As Plaintiffs’ experts readily acknowledge, the purpose of a ninth-
grade biology course is not to train scientists, but to contribute to the
liberal education of the students. v. 3 (Miller); 48:15-21; v. 15
(Alters); 20:19-22. As the evidence overwhelmingly shows,
intelligent design is being discussed and debated by scientists and
other academics in the scientific literature, in academic and scientific

conferences and symposia, and in the popular media and literature. v.

24
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 25 of 34

18 (Behe); 57:21-25-70:1-9; D 300 E, F, G, H, I; v. 18 (Behe); 67:22-
25; 68:1-12, 20-23; v. 18 (Behe); 77:17-25-79:1-6; 81:18-25-82:1-11;
203-1; v. 18 (Behe); 79:16-25-80: 1-4: v. 18 (Behe): 80:13-25-81:1-6;
D 203-J; D 203-H; v. 18 (Behe); 82:12-20; v. 19 (Behe); 48:12-25-
54:1-5; v. 2 (Miller); 64:1-25-65:1-7; v. 2 (Miller); 82:17-25-83:1-2.
v. 2 (Miller); 69:24-25-70:1-19. v. 2 (Miller); 75:13-16; v. 2 (Miller);
75:17-25-76:1-14. Making students aware of intelligent design in a
ninth-grade biology class unquestionably serves a valid educational
purpose (compare P-FF 291-311). v. 18 (Behe); 88:1-25; v. 21
(Behe); 22:2-4; v. 37 (Minnich); 145:7-10:; v. 18 (Behe): 88:13-18; v.
20 (Behe); 86:11-23; v. 21 (Behe); 20:16-25-22:1; v. 37 (Minnich);
47:12-17; v.37 (Minnich); 144:12-23. To censor ideas, as Plaintiffs’
seek to do in this case, is what truly makes students “stupid.”

(Compare vy. |7 (Padian); 51:17).

9. Exaggerated claims by Plaintiffs’ experts demonstrate their bias.

a.

Without any connection to the text of the short statement that is at
issue in this case, Professor Padian made the remarkable claims that
this statement would cause student to question why there is suffering

and what good is prayer (see P-FF 306). v. 17 (Padian):; 53:20-25-

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Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 26 of 34

54:1-2. As Professor Behe testified, “It’s hard to—it’s hard to know
what to say to something like that... . [I]t strikes me as utterly
unconnected to the text of the statement that was read, and | can’t
imagine where Professor Padian is getting this from. I doubt that it’s
from his paleontological expertise.... [I]t says more about where
he’s coming from, more about where---what he’s thinking, his frame
of mind, than it says about the statement itself.” v.21 (Behe); 14:25-
15:1-14. The Court agrees with Professor Behe’s assessment.

b. Similarly, Professor Alters made the claim that this short statement
would introduce students to a “God-friendly” science (see P-FF 304).
v. 14 (Alters); 144:12-25-145:1-7. As Professor Behe pointed out,
Professor Alters’ opinion was “histrionic” and “utterly unconnected
to the text of the statement.” v. 21 (Behe); 13:22-25-14:1-19.
Professor Behe concluded, “[I]t makes me suspect that the reaction
has to do more with Dr. Alters’ conceptions and misunderstandings
and other things than it has to do with the statement itself.” v. 21
(Behe) 13:22-25-14:1-24. This Court shares Professor Behe’s

suspicion.
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 27 of 34

10. The Plaintiffs effort to disqualify ID from science based on experts in the

philosophy and history of science is unpersuasive.

a. The Plaintiffs have plainly mischaracterized the thrust of Fuller’s

testimony, including the import of the parts cited in the findings.

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In P-FF15, Fuller’s deposition testimony is taken out of
context. Fuller’s testimony actually stands for the idea that
intelligent design challenges some of the fundamental ideas of
science and that intelligent design would unify certain branches
of science such as cosmology, physics, and biology. Fuller
Dep. at 116. Fuller’s testimony supports the idea that
intelligent design’s project is to include the possibility of the
“supernatural” in the realm of scientific inquiry. v. 28; p.
20:17-21. As Fuller made clear [D is open to, but does not
require, supernatural causation. v. 27; p. 103:5—p. 104:3.
Plaintiffs’ expert Robert Pennock admits that scientists already
work on subjects thought to be “supernatural.” See below.
Moreover, this distinction is tremendously important when one
considers that, as Fuller makes clear, the history of science has

been one whereby things once thought supernatural have been

27
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 28 of 34

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iv.

naturalized—an artificial constraint on scientific inquiry might
well harm science (see e.g. the criticism of Newton below).
Thus the difference between necessary reliance on supernatural
causation and openness to the possibility of causation deemed
supernatural is extremely important.

Contrary to P-FF 28, the Plaintiffs’ citation to Fuller’s
association of ID and creationism 1s wholly misplaced. Fuller’s
point, both in his deposition and at trial, is that this association
in terms of “context of discovery” plainly does not disqualify
ID from science. Fuller Dep. at 147; v. 28; p. 102:19-107:22.
In P-FF 53, Plaintiffs rely on Fuller’s deposition testimony for
the proposition that intelligent design is not a theory as that
term is defined by the NAS. Fuller Dep. at 98. But the point of
Fuller’s testimony is that the NAS definition is flawed because
it would disqualify all new theories from science, i.c. the notion
that every new theory is born refuted. v. 27 (Fuller); p.
104:8-21.

In P-FF 301, Plaintiffs mischaracterize Fuller’s testimony

regarding the implications of the statement. First, Fuller was

28
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 29 of 34

expressing some measure of sympathy with Miller’s concerns
but he also noted that the problem was ameliorated in part
when the statement defines theory as a well tested explanation.
Fuller Dep. at 110—11.
b. As for Pennock, his testimony does not disqualify ID from science.
1. Pennock admits that metaphysical extrapolation does not make
scientific theories nonscience. v. 5; p. 66:15—p. 68:18.
lu. He admits that Newton was criticized for having departed from
naturalism when Newton discoverd—and naturalized. v. 5; p.
74:20—p. 77:11. No one doubts that the law of gravity is
scientific not supernatural.
ili. He admits that scientists work on phenomena currently
considered supernatural. v. 5: p. 78:1—p. 79:25.
iv. He admits that philosophers of science do not agree about the
validity of methodological naturalism. v. 5; p. 84:2-13.
11. Contrary to P-FF 135-161, the Court finds that the Plaintiffs have not
proven that Bonsell’s interest in Creationism was an interest in securing the
teaching of Creationism in Dover schools because the weight of the

evidence does not support this claim. D—FF 567-573.

29
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 30 of 34

a. As noted, by Bonsell and other witnesses, Bonsell believes

Creationism and ID are two different things.

b. Bonsell sees Creationism as religion and ID as science.

C. He sees ET and ID as addressing the origins of life from a scientific
standpoint.

d. The evidence shows that Bonsell’s criticisms of ET were scientific,

not religious, in nature, which shows that Bonsell was approaching
this issue from the standpoint of his admittedly limited but good faith
belief that exaggerated/unsubstantiated claims were made for ET,
which had serious gaps and problems; and that ID was a scientific
theory which both highlighted gaps/problems in ET which offered a
rival scientific theory concerning the origins of life. v. 26 (Baksa); p.
63:7-— 64:17; v. 36: p. 61: 25~p. 65:4.

e. Bonsell came away from the meeting with science faculty in the Fall
of 2003, in which Miller told him that she taught that new species
originate from existing species, see P—FF 155, and he did not ask for
any change to the science text or curriculum. D FF 140-148.

f. Further, Bonsell’s conduct did not evidence a determination to add ID

to the curriculum himself. As evidenced by the memo Baksa

30
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 31 of 34

prepared in anticipation of the BCC meeting held on October 7, 2004,
Bonsell did not even insist on the express reference to ID. He agreed
to include this at the BCC meeting in an effort to create a
compromise. D—FF 357-373.

g. Moreover, both ID and ET share some measure of consistency with
Bonsell’s religious convictions so there 1s no persuasive reason to
believe that consistency with religious convictions was Bonsell’s
motive for supporting the curriculum change.

h. Bonsell’s daughter will be present for instruction in ET so there is no

persuasive reason to believe that he has some insuperable religious

objection to the presentation of ET.

Taken together these facts show that Bonsell agreed with

Buckingham that there making students aware of gaps and problems

in ET and the existence of other theories of evolution was a legitimate

educational goal but he had no strong agenda that he brought to the
process, never mind a religious agenda.

Bonsell admits he must have mentioned Creationism at Board

Retreats although he cannot recall what he said. This lack of memory

is no grounds to discount his testimony because witnesses favorable

31
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 32 of 34

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to the Plaintiff likewise had no recollection of what Bonsell said at

these meetings. This Court will not discount Bonsell’s testimony

because he has forthrightly and honestly stated that he cannot
remember exactly what he said during two 2 minute segments of two
meeting, one taking place in January of 2002, the other in March of

2003. D FF 44, 76-81.

Despite Bonsell’s readily understandable inability to remember

exactly what he said about Creationism, the weight of the evidence

demonstrates that Bonsell’s interest in Creationism was an interest in
whether and how the subject was addressed by teachers not an
interest in having it taught.

1. As an initial matter, it appears to this Court that Bonsell’s
interest in Creationism was no more than a natural interest in
whether and how teachers addressed the relationship among
ET, origins of life, and Creationism which was shared by the
various individuals and institutions that appear in the record in
this case.

(1) Forexample, the issue that interested Bonsell was

acknowledged by the biology teachers, Miller and Linker

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Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 33 of 34

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before he ever spoken with them. The evidence shows
that it was this natural interest which apparently resulted
in the practice whereby biology teachers mentioned
Creationism as a preface to their teaching of ET. and, in
addition, told students with questions about the origins
of life to discuss that matter with their parents etc. D FF
256.

It was acknowledged by Spahr and Peterman (who
instructed teachers to continue to mention Creationism as
another theory of evolution) implicitly recognizing its
relevance; D~1; D FF 93-101.

It was acknowledged by Nilsen who sent Baksa to the
seminar on Creationism and the Law because he knew
Baksa would be dealing with the biology text and
curriculum; D FF 56-66.

It was acknowledged by the Pennsylvania School Board
Association, which sponsored the seminar Baksa
attended, and during which well credentialed academics

emphasized that teaching Creationism while presenting

33
Case 4:04-cv-02688-JEJ Document 337 Filed 11/30/05 Page 34 of 34

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their view that some discussion of Creationism would
actually enhance the presentation of ET.

[t was acknowledged by Plaintiffs’ expert Brian Alters
who testified that the relationship between religious
beliefs and ET is an issue that teachers need to address
with sensitivity to the religious beliefs of their students
by avoiding false conflicts between ET and religious
beliefs. v. 14 (Alters); p. 86:14—p. 90:8.

Further, the record is replete with statements taken by
public and private organizations concerning the need to
address the relationship between ET and Creationism

with care.

This evidence shows that Bonsell’s interest cannot be taken as

evidence of an unlawful agenda—for the same reason one would

not impute an unlawful motive to any of the others just noted.

Moreover, Bonsell has also exhibited an interest in the Social

Studies Curriculum as of 2002 but never called for any change

to that curriculum, so the expression of interest cannot be taken
